




CIRCD _________




NO. 12-09-00133-CV


IN THE COURT OF APPEALS


TWELFTH COURT OF APPEALS DISTRICT


TYLER, TEXAS

IN THE INTEREST OF			§		APPEAL FROM THE 392ND


D.Y. AND M.D.,				§		JUDICIAL DISTRICT COURT OF


CHILDREN					§		HENDERSON COUNTY, TEXAS



MEMORANDUM OPINION

PER CURIAM

                                                                                                   Appellant has filed a motion to dismiss this appeal.  Because Appellant has met the
requirements of Texas Rule of Appellate Procedure 42.1(a)(1), the motion is granted, and the
appeal is dismissed.  

Opinion delivered September 30, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



	(PUBLISH)


